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3                             UNITED STATES DISTRICT COURT
4                                     DISTRICT OF NEVADA
5                                               ***

6     TITO BARRON-AGUILAR,                            Case No. 3:17-cv-00548-MMD-CLB
7                                     Petitioner,                  ORDER
            v.
8
      HAROLD WICKHAM, et al.,
9
                                 Respondents.
10

11

12         Good cause appearing, Respondents’ unopposed second motion for enlargement

13   of time (ECF No. 41) is granted. Respondents have until November 23, 2020, to answer

14   or otherwise respond to Petitioner Tito Barron-Aguilar’s second amended petition for writ

15   of habeas corpus (ECF No. 38).

16         DATED THIS 20th Day of October 2020.

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18                                             MIRANDA M. DU
                                               CHIEF UNITED STATES DISTRICT JUDGE
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